Case 1:22-cv-01032-PKC-JRC Document 139 Filed 02/16/23 Page 1 of 1 PageID #: 1997


                                                                                         305 Madison Avenue
                                                                                         New York, NY 10165
                                                                                             T: 212-922-1080
                                                                                             F: 212-949-8255

                                                                                             James Valentino
                                                                                                      Partner
                                                                                        valentino@clayro.com



                                                                February 16, 2023

  VIA ECF
  The Honorable Pamela K. Chen
  United States District Court for the Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201

           Re: IME Watchdog v. Safa Abdulrahim Gelardi, 1:22-cv-1032 (PKC) (JRC)

  Dear Judge Chen:

         This firm represents Defendant Nicholas Liakas in the above-referenced matter.

           Mr. Liakas’ deadline to respond to the First Amended Complaint (“FAC”) is currently set
  for February 23, 2023 (Doc. 136). I write to request an extension to April 24, 2023, to respond to
  the FAC. This extension is necessary to allow for Mr. Liakas to engage in settlement discussions
  with Plaintiff. This is Mr. Liakas’ first request for such an extension. Counsel for Plaintiff agreed
  to this extension in an email to me on February 15, 2023. No other deadlines are affected by this
  request for an extension.

         Thank you for your consideration of this request.



                                                                Respectfully,


                                                                CLAYMAN ROSENBERG
                                                                KIRSHNER & LINDER, LLP
                                                                /s/ James F. Valentino
                                                                James F. Valentino
                                                                305 Madison Avenue, Suite 650
                                                                New York, NY 10165
                                                                (212) 922-1080
                                                                valentino@clayro.com
                                                                Attorneys for Defendant Liakas

  Cc: The Honorable James R. Cho and Counsel of Record (via ECF)
